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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

                                                  :
Angela Williams, et al.,                          :
                                                  :
                       Plaintiffs,                :
         v.                                       : Civil Action No.: 3:20-cv-00865-MGL
                                                  :
Ford Motor Company,                               :
                                                  :
                       Defendant.                 :
                                                  :
                                                  :

                                     NOTICE OF SETTLEMENT

         NOTICE IS HEREBY GIVEN that a settlement in principle has been reached in this

case.

         It is requested that the Court allow the parties 60 days to consummate the settlement and

file a notice of voluntary dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a).


Dated: May 27, 2020

                                                   PLAINTIFFS

                                                   /s/ Lawrence B. Serbin______
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                                                   Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2020, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court for the District of South Carolina
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Lawrence B. Serbin_________
                                                    Lawrence B. Serbin, Esq.
